                   Case: 1:21-mj-00888-SKB Doc #: 1 Filed: 11/18/21 Page: 1 of 5 PAGEID #: 1
AO I 06 (Rev. 04/10) Application fo r a Search Warrant



                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                                   Southern District of Ohio

               [n the Matter of the Search of                                  )
          (Briefly describe the property to be searched                        )
           or identify the person by name and address)
                                                                               )            Case No. 1:21-MJ-00888
Priority Mai l Express, Label Num ber EE 203385518 US, addressed to            )
S. Johnson, 3514 Harvey Ave. APT #4, Cincinnati, Ohio 45229, with              )
 a return address of Willi am Lemus, 246 E. 29 th ST, L.A . Ca. 900 11 .
                                                                               )

                                                 APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or prope1ty (identijj, the person or describe the
property to be searched and give its location):
   Pri ority Mail Express. Label Number EE 2033855 I 8 US , addressed to S. Johnson, 3514 Harvey Ave. APT #4, Cincinnati, Ohio 45229, with a return address of
                                                        William Lemus. 246 E. 29 th ST, L. A. Ca. 90011 .

located in the               Southern                District of                    Ohio                      , there is now concealed (identijj, the
                                                                     - - - - - - -- - - - - -
person or describe the property to be seized) :
A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title
2 1, United States Code, Section 84l(a)(l).

          The basis for the search under Fed . R. Crim . P. 41 (c) is (check one or more):
               [8J evidence of a crime;
                  [gJ contraband, fruits of crime, or other items illegally possessed;
                  0    property desi gned for use, intended for use, or used in committing a crime;
                  0    a person to be arrested or a person who is unlawfully restrained .

          The search is related to a violation of: Title 21
         Code Section                                                                Offense Description
21 U.S.C. 841 (a) (1)                               Possession with intent to distribute a controlled substance


          The application is based on these facts :
See attached affidavit of U .S. Postal Inspector Alan J. Wilkins

           [8J Continued on the attached sheet.
           D     Delayed notice         days (give exact ending date if more than 30 days : _ _ _ _ _ ) is requested
                 under 18 U.S.C. § 3103a, the basis of which is set forth on the attaci  e@    ~


                                                                                                            App!icbnt 's signature

                                                                                               Alan J. Wilkins, U.S. Postal Inspector
                                                                                                            Printed name and title

Sworn to before me and signed in my presence.
via electronic means, specifically Facetime video.

Date:             Nov 18, 2021
                                                                                                              Judge 's signature
                                                                                                       Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                   United States Magistrate Judge
                                                                                                            Printed name and title
     Case: 1:21-mj-00888-SKB Doc #: 1 Filed: 11/18/21 Page: 2 of 5 PAGEID #: 2




                                        AFFIDAVIT

      I, Alan J. Wilkins, having been duly sworn, depose and state:

1.    I am a United States Postal Inspector with the United States Postal Inspection Service
      (USPIS), assigned to the Cincinnati, Ohio Field Office. I have been employed by the
      United States Postal Inspection Service since June 1, 2013 . I have investigative
      responsibility for southwest Ohio and northern Kentucky. Part of my investigative
      responsibility involves the use of the United States Mail in the illegal transporiing of
      narcotics and other dangerous controlled substances and financial proceeds relating
      thereto.

2.    I have gained experience through completion of the Basic Inspector Training (BIT) in
      August of 2013 . During BIT training, I was instructed in all phases of criminal
      investigation such as: criminal law, search and seizure, field enforcement techniques,
      firearms proficiency, drug and narcotics identification, drug and narcotics field testing,
      interviewing and evidence collection.      Since June 2013 I have worked with various
      federal, state, and local law enforcement agencies in the prosecution of crimes involving
      the U.S. Mail and the U.S. Postal Service including but not limited to mail fraud, bank
      fraud, mail theft, burglaries, robberies, homicides, dangerous mail investigations, and
      mailed narcotics.

3.    This Affidavit is made in support of a search warrant for the following property, namely
      the package associated with the following United States Postal Service ("USPS") Priority
      Mail Express Label Number:

             a.     EE 203385518 US (the "Subject Package")

     This Affidavit is made in support of a warrant to search the Subject Package for
     evidence of a crime as well as contraband, fruits of a crime or other items illegally
     possessed in relation to the following offense:

     a.      Possession with Intent to Distribute Controlled Substances, in violation of Title
             21 , United States Code, § 841.

     Because this Affidavit is submitted in support of the application of the United States to
     search the Subject Package, it does not include every fact known concerning this
     investigation. I have set forth facts and circumstances that I have relied upon to establish
     probable cause to justify the issuance of a warrant to search the Subject Package. The
     Subject Package is currently being held at the USPIS Cincinnati Field Office.

4.   Based on my training and experience, I have become aware that drug traffickers
     frequently use Priority Mail Express and/or Priority Mail, services offered by the USPS ,
     to transport narcotics and other dangerous controlled substances. As a result of
     investigations and successful controlled substance prosecutions where Priority Mail
     Express and/or Priority Mail were used, I have learned of certain characteristics
     Case: 1:21-mj-00888-SKB Doc #: 1 Filed: 11/18/21 Page: 3 of 5 PAGEID #: 3




      associated with other Priority Mail Express and/or Priority Mail items previously
      identified as containing narcotics or other dangerous controlled substances. Some of
      these characteristics include (but are not necessarily limited to or used on every
      occasion): false or non-existent return address, addressee is not known to receive mail at
      the listed delivery address, the package is heavily taped, the package is mailed from a
      known drug source location, labeling information contains misspellings, the label
      contains an illegible waiver signature, unusual odors emanating from the package, and
      the listed address is located in an area of known or suspected drug activity.

5.    On or about November 18, 2021 , I identified and intercepted the Subject Package from
      the Cincinnati Processing and Distribution Center located within the Southern District of
      Ohio.

      The Subject Package is further described as:

             Priority Mail Express, Label Number: EE 203385518 US
             Weighing approximately 2 pounds in a brown box with approximate dimensions
             of 10" x8"x6 " . Postage paid was $61.25.

             Sender:        William Lemus
                            246 E. 29 th ST
                            L.A. Ca. 90011
                            (323)675-9310

             Addressee:     S. Johnson
                            3514 Harvey Ave. APT #4
                            Cincinnati, Ohio 45229


6.    I observed the Subject Package and reviewed USPS tracking information, which
      indicated it was mailed from the Los Angeles Main Post Office, Los Angeles, CA 90001 ,
      on November 16, 2021. The Subject Package is heavily taped.

7.   I searched the CLEAR database for the listed return address of the Subject Package.
     CLEAR is an investigative platform available to law enforcement and other government
     investigators that contains public-record data about people and businesses. The
     information obtained from the system indicated that William Lemus is not associated
     with that address.

8.   I searched the CLEAR database for the listed addressee of the Subject Package. The
     information obtained from the system indicated that there is no S. Johnson associated
     with that address.

9.   I searched the CLEAR database for the listed telephone number on the Subject Package.
     The information obtained from the system indicated that there is no association with the
     listed telephone number and William Lemus or S. Johnson.



                                              2
       Case: 1:21-mj-00888-SKB Doc #: 1 Filed: 11/18/21 Page: 4 of 5 PAGEID #: 4




10.     On or about November 18, 2021, I arranged for Deputy Nick Poole, Hamilton County
        Sheriffs Office, to utilize a narcotics canine to check the Subject Package. Deputy
        Poole and his canine "Akim" are a currently certified narcotics team. The team is
        certified by the Ohio Peace Officer Training Commission and the Ohio Office of the
        Attorney General. Deputy Poole reports that "Akim" passed all of his examinations and
        has successfully located hidden drugs in the past; I therefore consider "Akim" to be
        reliable. I met Deputy Poole at the USPIS Cincinnati Field Office, where the Subject
        Package was placed in a separate office among several other similar packages and
        presented to "Akim", who alerted positively to the presence or odor of a controlled
        substance upon the Subject Package. Attached to this Affidavit, and incorporated by
        reference, is a photocopy of the narcotic canine handler's record of examination.

11 .    Based upon my experience and training, this information, along with the positive alert of
        narcotic canine "Akim," is indicative of the Subject Package containing narcotics or
        proceeds relating thereof.

12.     Based upon the information contained in this Affidavit, I believe that there is probable
        cause to believe that the Subject Package will contain evidence and/or contraband, fruits
        of crime, or other items illegally possessed. Therefore, a search warrant to open the
        Subject Package is requested.


                                                     Further, your Affiant sayeth naught.


                                                           ~/IJJ/4
                                                     Alan J. Wilkins
                                                     U.S. Postal Inspector



Subscribed and sworn to and before me this            18th_ day ofNovember 2021.
via electronic means, specifically Facetime video.




Stephanie K. Bowman
United States Magistrate Judge




                                                       3
              Case: 1:21-mj-00888-SKB Doc #: 1 Filed: 11/18/21 Page: 5 of 5 PAGEID #: 5


           United States Postal Inspection Service
.~

\al        Pittsburgh Division




                                              OFFICER AFFIDAVIT




     I, DEPUTY N. POOLE, AM, AND HAVE BEEN, EMPLOYED BY THE HAMILTON COUNTY SHERIFF'S

     OFFICE , SINCE 2004. AMONG OTHER DUTIES, I AM CURRENTLY THE ASSIGNED HANDLER OF

     NARCOTICS DETECTION CANINE           "AKIM", WHICH      IS TRAINED AND CERTIFIED IN THE

     DETECTION OF THE PRESENCE OR ODOR OF NARCOTICS DESCRIBED AS FOLLOWS:

     Marijuana, Cocaine, Heroin, Methamphetamines, and their derivatives.

     ON 11/18/2021, AT THE REQUEST OF POSTAL INSPECTOR A.J. WILKINS I RESPONDED TO THE

     USPIS CINCINNATI FIELD OFFICE WHERE "AKIM" DID ALERT TO AND INDICATE UPON THE

     FOLLOWING DESCRIBED ITEM:




     USPS Priority Mail Express, USPS Label Number: EE203385518US, addressed to: S. Johnson, 3514

     Harvey Ave APT #4, Cincinnati, Ohio 45229 with a return address of William Lemus, 246 E. 29 th ST,

     L.A. Ca 90011.




     BASED ON MY TRAINING AND EXPERIENCE AND THAT OF "AKIM", I CONSIDER THE ABOVE

     DESCRIBED ITEM TO CONTAIN WITHIN OR UPON THE PRESENCE OR ODOR OF A NARCOTIC OR

     OTHER DANGEROUS CONTROLLED SUBSTANCE.

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              ~      ~ . .           ✓.    /4& /h.>'--
              (Signature and D a t e 1 ; / ~ 9 0




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     895 Central Avenue, Suite 400
     Cincinnati, OH 45202-5748
     Telephone: 513-684-8060
     FAX: 513-684-8009
